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                 EXHIBIT 42
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 Cbntrs p tubstance Monitoring Progl i '                                           rage 1 or io

     ·         ·                                   Mc'T<esson Operations                            Mani!
                                                                                    for Pharma Distribution


                                              Controlled Substance Monitoring Program


                   Ge1J~r.~J                  Contriquting                   Overyie\111 of D.etailed                  Detailed
                                                                                                                                          Attachm~n~
              Des~riptio.n                     Authors                                   St~P.~                         Steps

          Aut'1pr I Qw~~.r                 Revision History                      Search DistO~s                      Contact Us

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 General Description
            Task: This procedure outllnes requ irements and activities to proactively monitor customer's orders and purchases of DEA contron·e d:
                  substances and actions to take based upon analysis of customer orders and purchases.


         Purpose: The purpose of this process is to:
                         Proactlvely review the customer's orders and purchases for all controlled substances in order to detect and prevent diversion.
                         Set and maintain customer's thresholds for all controlled substances
                         Make informed decisions based upon established threshold Information
                         Bulld a documented business case to substantiate the volume of controlled substances purchased by McKesson customers.
                         Report to the DEA those orders I purchases I customers desl9nated as •suspicious".

                     The DEA expects McKesson to "know their customer·. This means understanding the customer's business, why they purchase as well
                     as how much they purchase. Factors such as type of business, Internet activities, type and quantity of products purchased should ·be· ·
                     considered when evalvatlng a customer.                                                                                       · " ~ ... •..


                     Reports
                                                                                                                                                                                      I.
                                                                                                                                            '   - · . ; ..• - . . • ' · 1· .....~ .   ·~·


                     There are multiple reports developed to allow McKesson to monitor customer orders and purchases.of controlled ·substances by the net
                     number of dosage units sold based on the DEA's Controlled Substance Generic ease Code 10. McKesson will Investigate customer····
                     activity when an order or a glven generic base ingredient exceeds a predefined dosa9e unit threshold within a calendar fT\Onth._ . .• __ _

                     Additions or deletions of Items will be managed through the Regulatory Department by submitting a problem request to Business.
                     rntelllgence- Functional (81-FUNC).                                                                                    .. .

                     For the p urpose of these reports, all sales to a DEA license number are being accumulated, therefore sales to multiple account numbers
                     with the same DEA license number are consolidated. Sales are added together regardless of fill de.




         When to Daily
             do: As needed

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 ~O         ro.p


Contributing Authors
                    The following are subject matter experts who contributed to this document:
                    Tracy Jonas



 OTop


overview of Detailed Steps


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                                                                                                                                  Attachment 7


CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                MCKMDL00409301
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        f ·i'>ntrolled Substance Monitoring Pro~                                                                                                                                                                                                                       Page 1. or lo
        1 C,        ,                         W
            {                1.        Thresholds
            l
                                       Threshqld Review
         i : . ~:                      New Customer On Boarding Process                                                                                                                                                                                                                f
                                                                                                                                                                                                                                                                                       I

    I~T:
                                       Due Diligence
                                       Document Retention
                                                                                                                                                                                                                                                                                       t
        j                                       ---~-.,...-._.... , .. ·•
                                                                      ~~   .- fl,, ..,.~.,, ,   •• .,,., _ . .._._,., _... ..,.., ....._ ,...,,... , _ _,.; ,;,v .,   •.•   .-.•«II>' ""~'"""'_...__, ..__   . .,
                                                                                                                                                                                                                    ~·---..   ....... ..... __..,.,_.__,.
                                                                                                                                                                                                                                   ~                        _____________
        .f      ~petailed          Steps
    I                       1.         Thresholds
        Il          ':f
    ~               .,
                                                1.1    Initial Program Thresholds
        t       ~~:

    ·l
        j       (..

    t
    l
                                                       Analysis was conducted on every McKesson customer. Thresholds with an additional margin were established based
                                                       upon a review of customers' purchases over a twelve month period.

    I
    f
    ·j
                                                       DEA has assigned each controlled substance to a "base code" or also referred to as the "Administration Controlled
                                                       Substance Code Number".
                                                       The controlled substance tluesholds were estabflshed using the DEA base code.

    !
    ·I
    j           ,.....                                    1.1.1 Regulatory Threshold Limits
    l.
    I
                ~




    j
    ~                                                              The Regulatory Directors determined "Regulatory Limits" for every base code. The regulatory limits are
    1 }:                                                           conservative beginning dosage amounts that allow a pharmacy to order controlled substances until
    !                                                              such t ime that individual thresholds can be set.
    !
                                                          1.1.2 Family Threshold Limits


    I'
    }
                                                                  All McKesson customers were evaluated and classified i nto like business segments based upon type of
                                                                  business and monthly doll<Jr RX s<Jles. Additionally, Six Sigma analysls helped to Identify appropriate

j   i
    I
                                                                  threshold amounts for every controlled substance and for every family type. Out of that lnfom:iatlon, a
                                                                  matrix of family codes and threshold amounts were developed. (See attachments)

                                                                  NOTE: If a customer has never purchased a particular "base code" before, Immediately upon their first
                                                                  purchase, the family threshold limit for that base code will be applled.
    !
                                                1.2   Establishing "New Customer" Thresholds

                    .i..
                                                      As McKesson accepts new customers, consideration needs to be given to establishing thresholds for controlled
                                                      substances. Decisions wlll be made on a case by case basts using the guideHnes listed below.




                                                         1.2.1 Retail National Account {RNA), MHS, Government Customers




                                                                  Correspondence will be between McKesson sales and t h e customers corporate headquarters. Sales will
                                                                  obtain th e necessary information so McKesson's regulatory department can establish appropriate
                                                                  thresholds.

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                                                                                                                                                                                                                                                              Attachment 7



         CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                                MCKMDL00409302
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 l                                                                                                                                                    I:
    L..
    1
                                                                                                                                                      i
                                       How     to d o:
 i
 J
                                       Upon contract signing of new account(s), customer will provide to McKesson national accounts a
                                       completed customer questionnaire (see on-boarding process in step 3 below). Jn addition, customer wlll
                                       provide at least 3 months sales history (at store level) consisting of:
 J                                          NOC number
                                            Item description· with unit of measure

l
1
~
                                           Purchase quantity (either saleable units or dispensing units)
                                           Months purchased


'
_,}
·I                                     Result:
l                                      Once the above data has been obtained it should be disseminated as follows:
1                                          Original completed questionnaire to be retained at the DC in the CSMP file as described In the
                                           document retention section 5 below.

I
I
-~
                                           Copy of completed questionnaire to be sent to appropriate Director of Regulatory Affalr.s ..
                                           Sales history data to be sent to Supply Chain Services/Inventory Analytics In Carrollton " . .

•                                      A.   Regulatory Affairs

I                                           l. Directors will review completed Questionnaire and based upon the intonnation contained,
                                                assign the appropriat e "family code• to each customer account.
                                            2 . Directors wm either;
I                                               a. forward Excel spreadsheet listing family code assi9nment and account Information to
                                                     masterdata2@mckesson.com as approval t o load family code to master data. To be

I                                                    loaded within 24 hours of receipt days of Initial receipt
                                                b. input family and account data into RxPad as approval. Ta be loaded within 24 hours of

I                                                    input.
                                            3. Once receipt of loading has been received, ORA will notify Sales Rep, SA and DC

                                       8.   carrollton Analysis
                                            1. Purchase history data will be analyzed and Imported into a "CSMP Purchase History
                                                ·spreadsheet• and forwarded to DRA.
                                            2. ORA analyzes the data, .d etermines threshold amounts and uploads data to CSMP/SAP site
                                            3. ORA's will receive immediate Indication of successful upload
                                            4. ORA will notify national accounts upon completion of threshold upload.




                                      Special warnings:                                                                        .
                                      NOTE: If no purchase history is provided, the customers' t hresholds wil l remain at the associated
                                      family designation.




                                      If a n   error occurs:
                                      If the RX Pad syst em is not available and/or the Director of Regulatory Affairs does not have access,
                                      the approv;,l process for DEA Fami!y uploading can be maintained via an email attachment whereby the
                                      Director gives approval.


                                       1.2.1.1 Ex is t i ng Customer/ New Location


                                                  As the customer relationship is pre-existing, national accounts and regulatory have
                                                  previously reviewed the customers' controlled substance requirements .
                                                  Correspondence will be between McKesson National Accounts and the customer's corporate
                                                  headquarters. National Accounts will obtain the necessary Information so. McKesson's
                                                  regulatory department can establish appropriate thresholds.




                                                  How to do:
                                                  A.   National accounts will notify the appropriate regulatory directors via email of an
                                                       anticipated new location opening.
                                                  B.   Email to contain, Store name, Location, chain JD, DEA # and date of anticipat ed store
                                                       opening
                                                  C.   ORA will ascertain the default family code based upon previous analysis of customers
                                                       existing locations and reply via email with famlly code and their approval to load Into
                                                       master data within 2 business days.



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          CONFIDENTIAL-SUBJECT TO PROT ECTIVE ORDER                                                                       MCKMDL00409303
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                                                    D.   As the new location has no previous sales history, the default family and associated
                                                         thresholds will be utilized until such time the locations purchases warrant threshold
                                                         review.
                                                    e.   ORA will respond to national accounts upon completion of threshold assignment.




                                                    If an er ror occurs:
                                                    H the RX Pad system is not available and/or the Director of Regulatory Affairs does not
                                                    have access, the ilPproval process for DEA FamUy uploading can be millntainecl vlil an ernalf
                                                    attachment whereby the Director gives approval.




                               1.2. 2 All Other Account Types (Independent, mail order, etc}


                                        Corre.spondence will be between McKesson Silles and the customers corporate headquarters/home
                                        office and/or owner. Sates will obtain the necessary information so McKesson's regulatory department
                                        can establish appropriate thresholds.




                                        How to do:
                                        Upon contract signing of new account (s), customer will provide to McKesson sales representative a
                                        completed customer questionnaire (see on·boardin9 precess In step 3 below). In addition, customer will
                                        provide at least 3 months sales history consisting of:
                                             NOC number
                                             Item description with unit of measure
                                             Purchase quantity (either saleable units or dispensing units)
                                            Months purchased




                                        Result:
                                        Once the at>ove data has been obtaJned It should be disseminated as follows:
                                            Original completed questionnaire to be. retained at the DC in the CSMP file as described In the
                                            document retention section S below.
                                            Copy of completed questionnaire to be sent to appropriate Director of Regulatory Affairs
                                            Sales history data to be sent to Supply Chain Services/Inventory Analytics In Carrollton

                                       A.   Regulatory Affairs
                                            l. Directors will review completed questionnaire and based upon the Information contained,
                                                assign the appropriate "family code" to each customer account.
                                            2. Directors wtll either;
                                               a. forward Excel spreadsheet fisting family code assignment and account Information to
                                                     masterdata2@mckesson.com as approval to load family code t o master data . To be
                                                     loaded within 24 hours of receipt days of Initial receipt
                                               b. input family and account data into RxPad as approval. To be loaded within 24 hours of
                                                     input .
                                            3. Once rec.e lpt of loading has been received, ORA wit.I notify Sales Rep, SA and DC

                                       8.   Carrollton Analysis
                                            l.  Purchase history data will be analyzed and imported into a "CSMP Purchase History
                                                Spreadsheet• and forwarded to ORA.
                                            2. ORA analyl:es the da ta, determines threshold amounts and uploads data to CSMP/SAP site
                                            3. ORA's will receive Immediate Indication of successful upload
                                            4. ORA will notify national accounts upon completion of threshold upload.




                                       If an error o.ccurs;
                                       lf the RX Pad system Is not available and/or the Director of Regulatory Affairs does not have access,
                                       the approval process for DEA Family uploadlng can be maintained via an email attachment whereby the
                                       Director gives approval.




                    1 .3   Threshold Cha nge Re quests


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CON FIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                   MCKMDL00409304
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    1 :on.trolled Substance Monitoring Pro                                                                                                                  Page :i or H>
     1 •


     j                                             Existing customers may request a re-evaluation or increase to their existing controfled substances threshold due to
                                                   business requirements and/or and emergency situation. All requests for a threshold change must be documented on
                                                   the "Threshold Change Request" form as directed below.

    1l                                             NOTE: All requests for normal threshold changes need to be completed by a McKesson account manager and /or
                                                   McKesson DC management. Emergency threshold requests may be initiated through the DC management.


    f
    i                                                     1.3.1 Ordinary Threshold Change Request
    I
    l                                                           The decision process time frame will vary depending on the nature of the request, availability of
    ~                                                           documentation and previous due dlligence

 I                                                              How to do:
                                                                STOP! All Retail National Account customers' requests for a threshold increase must be submitted to,
 f                                                              reviewed by and approved by RNA sales and the customer's associated home office or regulatory
l                                                               department. Threshold change requests can be forwarded to your ORA for proper handllng.
~
~
                                                                A.   DC management and/or sales rep completes the threshold change request form. It is Important
                                                                     that the form Is filled completely and legibly.
J                                                                    1. Complete the date
I                                                                    2. Customer Name and complete address
                                                                     3. DEA # (required)
                                                                     4. Customer account #
1
f
                                                                     5. Complete in detailed Item Information including; Econo #,selling description and NOC#
                                                                     6. Enter the amount increase of the controlled substance either as a % Increase or amount of
i                                                                        selling unit.
I,                                                                   7. Complete in detail the reason{s) for threshold change. It Is important to attach any
                                                                         supporting documentation (I.e. business agreement, sales analysis, etc).
l                                                               8.   McKesson Use Only

i                                                                    1. (if form was completed by McKesson Sales Rep) McKesson sales rep will contact the DCM of
                                                                         the servicing distribution center to complete the "McKesson Use Only" area. questions 1-4.
                                                                     2. DCM can deny threshold change request at any time by completing "denied byK area on form
                                                                         and notifying sales rep and their DRA.
                                                                     3. If DCM approves threshold change request it will be forwarded to ORA for final review and
                                                                         rejection/approval.
                                                                     4. If ORA approves, threshold change will be effective as of the date of approval and DRA will
                                                                         notffy sales rep I DCM via email.
                                                                     5. lf ORA denies, they will contact the DCM /sales rep and Inform them of the outcome via email.




                                                      1.3.2 Emergency Threshold Change Request.

                                                               The decision process time for an emergency request shall be 2 hours from the point of customer
                                                               contact


                                                               How to do:
                                                               A.    The decision of whether a request is truly an emergency lies with the DC management.
                                                                     1. Once the DC management has determined that a request is an emergency, the DC
                                                                         management will collect all the pertinent information regarding the request on the Threshold
                                                                         Change Request form.
                                                                     2. If the DC management approves the request, they will contact their ORA (24/7) via the
                                                                         contact call chain described here: (phone numbers previously communicated)
                                                                         a. Contact your region's ORA (office/cell/home). If not available
                                                                         b. Contact Gary Hilliard (offrce/cell/home). If not available
                                                                         c.   Contact any other ORA (office/cell/home)
                                                                     3. If the ORA concurs with the DC management's assessment, they will update the customers'
                                                                         thresholds immediately.
                                                                     4. DC management will notify the customer immediately upon approval of the threshold change.
                                                                     5. If DC management and/or ORA rejects request, customer is to be notified immediately by DC
                                                                         management of denial.
                                                                     6. All results (denial or acceptance) are to be documented on threshold change form and
                                                                         retained by DC management(wlth copy to ORA) in CSMP file.


                                                     1.3.3
                                                               ORA Required Standard Text

        1...u- •             ...
                   "-~i.... +i.,_..t ...,..i..,,.c:c:nn   <".nm/ciistons/Manuals/.MOM/zav MOM-CTRL-007 .asp                                              9/16/2008
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     CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                       MCKMDL00409305
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             . Controlled Substance Monitoring Pro                                                                                            Page 6 of lo

        l'
        I'                                           "'This step is a requirement for Directors of Regulatory Affairs only*


     I
     1
                                                     When making any change to a customers threshold (temporary and/or permanent) you wll! need to
                                                     enter text in the text field before a threshold will be accepted.


    1l                                               Special warnings:
.j.,                                                 NOTE: Only the standard text is acceptable •

    ~
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IJ
    ;
i                   2.     Threshold Review
!
1j
                           Regulatory department will review/assess customer thresholds during the month. Addltionalty, customers that approach a
                           predetermined% of threshold maximum or exceed maximums will receive messaging as shown below.
J
 ''
!,                            Threshold Warning: Invoice & Delivery Doc only
                                   Approaching Monthly Regulatory Purchase Limit
l
l
                              Omit Code V: Threshold Limit
                              •    Short Message on some Front End Systems: Monthly Max Exceeded


I
f
                              •    Long Invoice Message: Monthly Regulatory Maximum Purchases Exceeded
                           NOTE: See example of invoice in attachments!


I
i
li                              2.1    Threshold Warning

                                       When a customer that has reached the threshold warning has been detected, The DRA      wmnotify DC management
                                       and sales. Sales and/or DC management may contact the customer to discuss threshold levels at their discretion. If
                                       a threshold change ls requested, follow the change request process in step 1.3 above. Any communication with
                                       customers must be documented (using general communication form in attachments) and retained In the CSMP file.


                                2.2    Threshold Excursion

                                       Once a customer has reached their monthly maximum threshold amount, all subsequent orders for that item will be
                                       blocked. This triggers the level review process as detailed in Level review steps below.

                                       The only way an item can be "unblocked" is if
                                       . Threshold Is temporarily changed ·
                                       . Threshold is permanently changed
                                       . Customer returns product and they fall below threshold
                                       . Sales history is •refreshed" at the beginning of a new month, meaning sales are set back to zero and customer is
                                       once again allowed purchase up to threshold amounts.




                                          2.2.1 level 1 Review - RNA Customer

                                                   The RNA support team will be responsible for initiating/compiling the level l review for RNA customers.


                                                   How to do:
                                                   Once the RNA support team has been informed of the threshold incursion, they will
                                                       notify and request information from one of the fotlowing: the customers reQulatory department,
                                                       corporate office, regional management team or McKesson liaison regarding the ltem(s) in question.

                                                        solicit feedback from the RNA customer and document information on the General level 1 fonn In
                                                        the attachments section. RNA support team will include all pertinent information as directed in the
                                                        form; as well as the name, title, phone of person contacted/providing information.
                                                        forward copies of levet l documentation to appropriate Director of Regulatory Affairs
                                                        initiate a threshold change requests if needed (see section 1.3 above}.




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                 1  I                                               Result:
                 l                                               Once received, the DRA will forward the level 1 documentation to appropriate DC.
                 l
                                                                 Special warnings:

                 j                                               If during this level 1 process either the RNA support team or the DRA determines it warranted, a level 2
                                                                 review can be Initiated as directed in step 2.2.3 below.


                l                                        2.2.2 level I Review - AH Remaining Customers
                l
                1                                                A level I review is required for every threshold incursion.
             l
                j
             .j                                                  How to do:
                                                                DC management will contact the customer upon attempted threshold incursion. At a minimum
                                                                management will inform the customer that a controlled substance was omitted because a threshold
             1                                                  maximum was met, ascertain the reason for the threshold Incursion, inquire as to any new business
             i
                                                                that the customer may be servicing and document the conversation. Based upon management's
            J1                                                  evaluation of the conversation the level 1 may be complete. If however management feels further
                                                                evaluation is necessary, they may evaluate the customer's purchases relative to the past three month's
            .j                                                  purchases. The evaluation should Include but not necessarily be limited to the following criteria:
            ;j                                                       •    Review Customer Purchasing Profile if one has been completed; are sales consistent with their
            .~                                                            profile?
            J
            l                                                        •    Perform a web search on the customer to review possible business practices
            ~
            .1                                                       •    Contact the appropriate Sales representative to determine reasoning behind the sales .

            l
            t
                                                                     •
                                                                     •
                                                                          Contact the customer to inquire on sales volume, expected volume and nature of business.
                                                                          Previous sales were validated and approved.
            t                                                        •
                                                                     •
                                                                          Sales have not increased more than 25% from any previous month.
                                                                          Sales are not increasing steadily.
        1                                                            +    Sales are consistent with the customer type.
        1                                                            +   Sales are consistent with any previous Sales or Customer communication.
        '$
                                                                NOTE: DC management will document all conversations with customer utilizing the general
        J                                                       communieation form in the attachments section, retain alt email pertaining to customer review and all
                                                                other data utilized.in the level I review. Documentation will be retained In the customers CSMP file as
        t
        ·I
                                                                evidence of due diligence.

        1                                                       Result:
        l
                                                                If the evaluation indicates that the customer's purchases are reasonable and that no further
        l                                                       investigation !s required, DC management will decide to:
                                                                •    Continue to block item until the beginning of new month and sales history is refreshed. This will
        !                                                            need to be communicated to the customer by either DC management or sales.
        j                                                       •   Request a temporary/permanent threshold change by following step 1.3 above.
        j
    l!
    l
                                                                Special warnings:

!j                                                              If the evaluation is not conclusive:
                                                                      •   Escalate to the Level II Review




    i
    l
    1
                                                         2.2.3 level II Review

l                                                               If the Level I Review as conducted by DC management
                                                                Level II Review is required.
                                                                                                                          I RNA support team is deemed inconclusive, a

1i
1
                                                                How to do:
j                                                              1.     DC management will forward/communicate all Level I information to their DRA.
f                                                              2.     ORA and DC management will discuss review process and conduct customer lnterview(s) if
                                                                      appropriate. (Refer to "Due Drllgence• in section 4 below)
f                                                              3.     DRA along with DC management will determine if sales are appropriate and either;
j
                                                                      a.  inform customer that sales of the Item will be blocked until the beginning of the next month
l                                                                     b. implement a temporary/permanent threshold change by following step 1.3 above.
l

I!                                                             NOTE: RNA support team shall be substituted for DC management as required in the above steps. All
                                                               conversations with customer will be documented. All parties will retain all email pertaining to customer
                                                               review and all other data utilized In the level II review. Documentation will be retained In the
!                                                              customers CSMP file at the regulatory DC as evidence of due diligence.
J
i

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Ii                                               2 . 2.4 Level III Review

l
i
                                                          If after the Level I and Level Il reviews have been conducted and the transaction (s) are deemed
                                                          •suspicious", a Level Ill review is necessary.

i
~                                                         How to do:
i                                                         l.
                                                          2.
                                                                Upon escalation to Level III, A.Y. contrOls wfll be blocked.
                                                                The matter will be escalated to the SVP of Distribution Operations, Reolonal SVP, RNA VP (as
                                                               needed) VPDO, VPGM and Regulatory Affairs-
1                                                         3.   The rustomer I transaction (s} are reported to DEA Headquarters as · suspicious·. The local DEA
                                                               office should be contacted to determine If the account Is in good standing with the agency; this will
                                                               be done by DC Management or Regulatory Affairs. findings must be share<! between DC
                                                               Management and Regulatory Affairs.
                                                         4.    Regulatory Affairs will schedule and conduct meetings with the Law Department and Senior
                                                               Management to present the findings of the review process and discuss next steps.
                                                         5.    With the Law Department's guidance, Regulatory Affairs or Counsel will contact the DEA
                                                               Headquarters to discuss our nndlngs.
                                                         6.    The Onal review of customer purchases and decisions regarding their purchases will be detenmined
                                                               by the Law Department and Senior Vice President.
                                                         7.    Regulatory Affairs wlll notify the DEA Heaoquarters and LDcal Office of McKesson's findings and any
                                                               decisions regarding continued business with the customer.
                                                         6.    If there are outcomes to the review that impact the customer relatlonshlp with McKesson, Sales or
                                                               Distribution Management will notify t he customer.




                                    2.3     Threshold Removal

                                            If ot any time there is need to remove the customer's ability to purchase controlled substances, either completely or
                                            by base code, the ORA am make adjustments as detailed below.


                                            How to do:
                                            i.   Block All Control Substance Purchases
                                                 a. Sales Admin can remove the DEA number from customer master data or
                                                 b. ORA can remove family code via threshold maintenance in SAP
                                            2.   Block Specific ease Codes
                                                 a. The ORA can enter ·o· Into threshold amount tor specific base code (s)



         0      Section Top


                  3.          New Customer On Boarding Process

                              It is extremely important as part of McKesson's ongoin g commitment to Controlled Substance Monitoring and understanding our
                              customers business practices that Sales and Operations work collaboratively to Inform, investigate and author1ze all new customers
                              controlled substance purchases.


                              Special warnings:
                              Failure to complete all required forms or informatiOn will prevent or limit sales   ot controlled substances   to customer.



                                   3.1      Intro ducing n ew McKesson customers to Controlle d Substance Monitoring
                                            (CSM)

                                            How to do:
                                            During the customer on-boarding process, the McKesson sales representative wlll Introduce the CSMP. The sales rep
                                            will utilize the CSMP communication letter, CSMP Overview and CSMP FAQ ( see attached) to inform customer of
                                            McKesson's responsibility and customers requirements.




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    f     C-ontrolled Substance Monitoring Pro                                                 Page 9of16
     I
                                             Special warnings:
    f                                        NOTE~ At no time Is there a guarantee, implied or otherwise, that any customer will be able to purchase
                                             controlled substances based upon Information received during this process.
    l

    )                                  3.2   Customers Questionnaire

1
J                                            How to do:
    1                                        Upon exptanatlon/ presentation of McKesson's CSMP process, the sales rep will present, explain and reciuest
    ~                                        signatures for the •customers Declaration• {see attachments)
1
1
l                                            Special warnings:
~                                            NOTE: All customer questionnaires must be completed legibly and completely.

i
.J                                             3.2.1 RNA, MHS, Government, Customer Questionnaire
J
                                                         Because RNA, MHS and government customer's typically have their own regulatory departments and




l
                                                         oversight, the abbreviated customer questionnaire form can be utilized. It may be completed by the
                                                         customers home office or controlling branch on behalf of all of their operating units and/or stores.


!
                                                         3.2.1.1 Header Portion
I
I                                                                   If customer questionnaire Is being completed on behalf of multiple locations, attach/submit
                                                                    electronically the detailed information (as noted below) for each location.


Il                                                                  How to do:
                                                                    Indicate whether new account Is a new customer or exfsting customer.
t
'                                                                   New customer = New account not currently serviced by McKesson
                                                                    Existing customer= Account currently serviced by McKesson, opening additional location
                                                                    (s) and/or secondary/warehouse account that is becoming primary with McKesson.

                                                                    Indicate the number of locations/stores being activated and estimated "go-live• date.


                                                         3.2.1.2 I. General Information & Licensing

                                                                    How to do:
                                                                    i.     Pharmacy Name ( enter pharmacy/ customer name as it appears on DEA registration)

                                                                    ii.    Pharmacy Address (enter lnformation as it appears on DEA registration)
                                                                    iii.   Pharmacy license (Include all states in which licensed) Photo copy of all phcy licenses
                                                                    iv.    DEA registration number (list number on form and photo copy)



                                                         3.2.1.3 II Ownership/Business History

                                                                    Complete sections as indicated. Utilize the explanation box to explain and/or include any
                                                                    other relevant information


                                                                    How to do:
                                                                   a.      Ownership type ( indicate by check mark the business type}
                                                                   b.      Number of years In operation
                                                                   c.      History




                                                        3.2.1.4 III Business Information


                                                                   Complete sections as indicated. Utilize the explanation box to explain and/or include any
                                                                   other relevant information




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                                                                       Ho w t o do:
                                                                       a.   Business Type ( circle the type of business this cust omer represents)
                                                                       b.   List wholesale distributors used in the last 24 months
                                                                       c.   How does pharmacy receive business. List. est imat ed %.
                                                                       d.   Is the pharmacy affiliated with an internet website or has Its own site? (llst address)
                                                                       e.   Is the pharmacy •verified I nternet Pharmacy Practice Site " (VIPPS) certified?
                                                                       f.   Does pharmacy download/ fill prescriptions from a websit e?
                                                                       g.   Pain management clinics ( Indicate the % of the customers overall business which Is
                                                                            attributed to pain management business. Detciil il..!JY pain management clinics that
                                                                            customer may be doing business with. Include a listing of Individual customer(s) and
                                                                            their associated pain clinic (s).)
                                                                       h.   Does pharmacy service nursing homes, long term care or hospice faclllties?
                                                                       i.   Is pharmacy located In a medical center or clinic?
                                                                       j.   Is t his a closed door pharmacy?




                                                                                                                                                                        l
                                                                       k.   Does pharmacy regu larly fill prescriptions written by out of state providers?


                                                            3.2.1.5 IV Purchasing Information

    f                                                                  In order to understand the new customers current controlled substance purchase
                                                                                                                                                                        i



I
                                                                       requirements it Is necessary to obtain past controlled subst<ince purchasing information.
                                                                        File should be provided electronically.
                                                                                                                                                                        I
                                                                                                                                                                        ~
                                                                      How to do:
                                                                      At least 3 months sales history Is required which will include:
1l                                                                    a.
                                                                      b.
                                                                            NOC
                                                                            Item Description
                                                                      c.    Purchase Quant ity
l                                                                     d.    Unit of Measure
}                                                                     e.    Purchase Dat e
~
~                                                                     rt sales history Is not available, 3 months of dispensing information should be obtained.

                                                                      Inquire as to if the pharmacy has established policies and procedures to verify controlled
f                                                                     substance prescriptions and if so, how.
i
!                                                          3.2.1.6 Customer Signature and Attestation
I
t
                                                                      Upon completion of the customer questionnaire, the owner, representat ive and/or deslgnee
j                                                                     will slgn/date and attest to the documents accuracy and completion .


I                                                   3.2.2 All Remaining Accounts Questionnaire

                                                           A completed cust omer questionnaire is mandatory for every new McKesson customer prior to them
                                                           receiving controlle<I substances. The regulatory department must approve new customer(s) based upon
                                                           questionnaire lnformation/supportlno documentation prior to threshold setting.
                                                           The customer is not allowed t o complete the questionnaire themselves, the questionnaire is meant to
                                                           document interactive communications between McKesson and the customer. The Questionnaire will be
                                                           completed by the McKesson sales representat ive.




                                                          Special warnings:
                                                          Customer wUI not be allowed control substance purchases without regulatory approval based upon
                                                          completion of customer questionnaire and supporting documentation.


                                                           3.2.2. 1 Header Portion

                                                                     If customer questionnaire is being completed on behalf of multiple locations, attach/submit
                                                                     electronically the detailed information (as noted below) for each location.




                                                                      How t o do:
                                                                     I ndicate whether new account is a new customer or existing customer.


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          ~ontrol~ed Substance Monitoring   ProU                                            Page l1 of16


                                                                       =
                                                     New customer New account not currently serviced by McKesson
     J                                                                     =
                                                     Existing customer Account currently serviced by McKesson, opening additional location
                                                     {s) and/or secondary/warehouse account thDl Is becoming primary with McKesson.

     l                                               I ndicate the number of locations/stores being act ivated and estimated "go- live" date.
     l
     i

 1I
1                                           3.2.2.2 I General Informa tion & Licensing
J
~                                                    How to do:
i                                                    a.   Pharmacy Name ( enter pharmacy I customer name as It appears on DEA registration)

 I                                                   b.
                                                     c.
                                                          Pharmacy Address (enter Information as It appears on DEA registration)
                                                          Phone/Fax
tl                                                   d.
                                                     e.
                                                          Pharmacy Email address (tf applicable)
                                                          Pharmacy License (include all states In which licensed) Photo copy of all phcy licenses
.,
1                                                    r.   DEA regist ration number (list number on form and photo copy)
                                                     g.
l
J
                                                          Pharmacist license (list all pharmacists' licenses, the state and license number.
                                                          Indicate the Pharmacist in Charge (PIC).)

'
·I
l
l                                           3.2.2.3 II Ownership/Business History
l
I
                                                     Complete sections as indicated. Utilize the explanation box to explain and/or include any
                                                     other relevant information




                                                     How to do:
                                                    a.    Owner information (complete only lf owner differs from PJC)
                                                    b.    Ownership type ( Indicate by check mark the business type)
                                                    c.    Number of years in operation
                                                    d.    Owner operates/ affiliated with additional PhDrmacics? (if so, list)
                                                    e.    History




                                            3. 2 . 2.4 III Business Infor mation

                                                    Complete sections as indicated. Utilize the explanation bo)( t o e)(plain and/or include any
                                                    other relevant information




                                                    How to do:
                                                    a.    Business Type ( circle the type of business this customer represents)
                                                    b.    Ust wholesale distributors used In the last 24 months
                                                    c.    How does pharmacy receive business. List estimated %.
                                                    d.    Is the pharmacy affiliated with an Internet website or has its own site? (list address)
                                                    e.    Is the pharmacy •verified Internet Pharmacy Practice Site" (VIPPS) certified?
                                                    f.    Does pharmacy download/ nu prescriptions from a website?
                                                    9.    Pain management clinics ( Indicate the % of the customers overall business which is
                                                          attributed to pain monagement business. Detail i!LIY pain mancsgement clinics that
                                                          customer may be doing business with . Include a listing of lndlvldual customer(s) and
                                                          their associated pain clinic (s).)
                                                    h.    Does pharmacy service nursing homes, long term care or hospice facilities?
                                                    i.    Is pharmacy located in a medical cent er or clinic?
                                                    j.    Is this a closed door phannacy?
                                                    k.    Does pharmacy regularly fill prescriptions written by out of state providers?



                                           3 . 2.2. S IV Purchasing Information


                                                    ln order to understand the new customers current controlled substance purchase


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                                                            ProG11                                                  O
                                                                                                                                                                        I
:i Control~ed Substance Monitoring                                                                                                                     Page 12of 16

                                                                       requirements it is necessary to obtain past purchasing information.




 •I
     i                                                                 How t o do:
 i                                                                     a.
                                                                       b.
                                                                            Total estimated monthly RX purchases Including controlled substances,
                                                                            Purchase breakdown (approximate)
i                                                                      c.
                                                                       d.
                                                                            Prescriptions filled per day/month
                                                                            Method of payment to pharmacy (estimate}

i
~                                                             3. 2.2.6 V Cont rolle d Subst an ces Pur chases
!
<
l                                                                      McKesson requires specific usage Information for lifestyle type substances (Hydrocodone,
J                                                                      Oxycodone, Alprazolam, Phentermine, Methadone) In order to assess the customers'
                                                                       current requirements.
.j
l




l
!
                                                                       How t o do:
                                                                       a.   Estimate. dose units dispensed per month for each of the following controlled
                                                                            substances, hydrocodone, oxycodone, alprazolam, phentermlne and methadone. This

Il                                                                          information should contain the total for an brand and generic for the base Ingredient
                                                                             including combination products
                                                                                  I tab, cap = 1 dose
l                                                                                 1 ounce=   l dose
I                                                                                 1 ampul/vlal/lnjection "" 1 dose
l                                                                     b.    If any of the above is greater than 5000 dose units, please provide Information to
1
                                                                            support purchase levels. (Supporting Information may include dispensing trend,
!                                                                           referrals from pain clinics, etc)
!!                                                                    c.    Has the pharmacy establishe<! policies and procedures to verify controlled substances
                                                                            prescriptions? Jf so how?

Il                                                           3.2.2.7 VI Phys ical Inspection
!
\                                                                     An important part of the on boarding process and ful.flllment of our obligation t o " know our
                                                                      customer" fs the site visit/observation process. First Impressions are Important and should
                                                                      be noted, however utlllzlng the questionnaire is a more forma l way to memorialize the
                                                                      observation Information.


                                                                      How to do:
                                                                      a.    General description of pharmacy and surrounding area In which the business Is
                                                                            located, include the condition of the pharmacy.
                                                                      b.    General description of the pharmacy customers.

                                                                      The Information listed here will assist In the site visit/observation.

                                                                      Observations shou ld include Items such as the following : -
                                                                          Customer Traffic - does the customer volume seem In line with their business type?
                                                                      +   $.!ruli?!.9~ - does the customer advertise themselves to the public In a manner
                                                                         consistent with their business type?
                                                                      •   Location_ - is the customer's business in a site that appears consistent with their
                                                                          business type and volume? For example, consider the area's population and
                                                                         surrounding businesses.
                                                                         ~!.9.r.:.~.~11&..· does the customer's square foot age appear to be appropriate for their
                                                                         business type an.d volume?

                                                                      c.    Does the pharmacy have adequate security?

                                                                      Photograph pharmacy outside and inside, including front entrance, pharmacy interior and
                                                                      pharmac y counter.




                                                            3 .2.2.8 Customer Signature and Attestation


                                                                      Upon completion of the customer questionnaire, the owner and/ or PIC wlll sign/date and
                                                                      attest to the documents accuracy and completion.




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    1l .
     I

    i                                          3.3    Customer Interview


I1
    I
                                                      How to do:
                                                      Instructions for performing the interview
                                                      1. Notify the appropriate Sales team member that an interview must be conducted with the customer.
                                                      2. Sales or Operations should contact the customer and request a meeting at a mutually agreed upon date and
                                                          time. NOTE: All meetings should be conducted on the dispensing pharmacy premises In order to view the
                                                          pharmacy operations.
 4
 l
 1
 j                                                              •    Schedule the meeting for as soon as is possible for all parties; the DEA expects McKesson's responses
1                                                                    to suspicious activities to be prompt and timely.
t                                                                •   Ensure that the customer understands that McKesson is performing due diligence activities for the
l
·~
                                                                     benefit of both McKesson and the customer.
 j                                                    3.   Print and review the customer questionnaire prier to visiting the customer.
J                                                    4.    Conduct the Interview.
t                                                    5.    Have the customer sign the questionnaire.

I"
~
                                                     6.
                                                     7.
                                                           Thank the customer and exit the interview
                                                           Complete and sign the customer questionnaire based upon responses provided by the customer.




1

lI           0       Section Top


                                 Due Diligence
                      4.

f                                McKesson's responsibl!lty Is to "Know Our Customer". If at any time McKesson (this includes sales, operations, regulatory)
                                 suspects any wrong doing, Inappropriate activity and/or questionable practices, McKesson has the responsibility to react. This
                                  requirement Is regardless of customer type, size, tenure, revenue, purchase quantities or threshold amounts.
t
!                                Regulatory and/or DC management may request a customer site visit, observation and/or signed questionnaire at any time.
                                 Regulatory may also suspend shipments of controfled substances at any time.



1                                How to do:
                                 Due      diligence may include one or all of the following activities:

I                                •
                                 •
                                 +
                                          Customer Declaratlon
                                          Site visit / observation
                                          Follow up Interview

I1                               •
                                 •
                                 +
                                          Inquiries with local DEA, Soard of Pharmacy
                                          Web search
                                          Requesting extensive background search via corporate security
                                 +        Photographs

                                 l.       Customer Communications
                                          •   All communications regarding controlled substances are subject to subpoena and discovery.
                                              Include. In the subject line of emails, customer name and/or acct#
                                              Write information as if it were being viewed by the DEA
                                              Be complete and detailed ... remember utilize the 5 W's
                                                   Who, what, when, where and why
                                              Refrain from using the word ·suspicious• in communications.
                                                   Once McKesson deems an order and/or customer suspicious, McKesson Is required to act. This means a!! controlled
                                                   substances sales to that customer must cease and the DEA must be notified.
                                              Document ALL conversations where controlled substances are concerned or discussed. {use the standardized form in the
                                              attachments section)
                                              Phone, lntrapersonal conversations with customers should be documented and retained at the DC.

                                2.        Legal Communications
                                              Communications copied to McKesson's legal department must contain the following text:
                                          .,    Privileged and Confidential
                                                This may be included in the subject llne and/or the body of the text.
                                                Doing so protects Information as attorney client privilege.




                                Special warnings:
                                Any activity taken with regards to CSMP should be properly documented and retained. Emails, contracts, government contact

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                         forms, notes from phone conversations·, photos etc may be collected as evidence an                                                                                                    s such should be legible, detalled and
    j                    accurate.
    i
                               4.1      TBD - reserved for fu t ure use
 J'

J
.J
           0     Section Top

j
j                5.      Document Retention

1                        It ls imperative t hat C!ocumentation regarding CSMP ls retained in an easily accessible/retrievable manner. This documentation can                                                                                                      l

                                                                                                                                                                                                                                                                  I
l                        be requested by the DEA, State authority and McKesson Regulatory/La w department to supp ort an Investigat ion, audit or Inquiry.



I                        How to do:
                         Af! docum entation   related to CSMP wm be ma.intained at the DC in a central location.



                                                                                                                                                                                                                                                                  I
I                        All DC's are r~guired t2-rr@intain a 4 drawer file cabinet (minim.Y.ID}Jhat is foLt~.e.
II                       and exclusive use of CSMP documentatior1,_f1 will be marked as CSMP.

i                       Emails and electronic copies are to be kept In t he same manner in ti-le CSMP file.

                        Government contact forms are to be disseminated as per distribution list on form.



                        GUIDING PRINCIPLE: Any CSMP document should be able to be retrieved within 30 minutes of request.




                        Special warnings:
                        Requests for information/documenta t ion by DEA or other Authority must be acco mpanied by a written request and approved by
                        McKesson Lega l department Prior to release of Information.




        _ __ t_., .. _,______ . _ _._._,......._.-.......   ~..,   ...... , !....................   ...- - - ...- - - - .. . -... M   ..         . ,.- ,, . ..••'•
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        Attachments
        Request to Increase Threshold
        I@ Click to Open or Save
        General Level 1, Observation, Communication Documentation Form
        l~f Clic..!< to Open or Save
        Family Matrix
        l&J Click to Open or Save
        ISMC Questionnaire
        l~I Click to Open or Save
         t
        Irwoice Example
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      Author / Owner
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       :;         Author. Gary Hilliard

      ·.·:·
      ··Document Sn.ice Russell
          Owner:




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     Revision History
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       ·-·                  Revision #:
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                           02/11/2008
                           Oocument Created


                           Revision#:
                           1.1
                           04/29/ 2008
                           first final draft


                           Revision#:
                           1.2
                           05/27/2008
                           Draft 2 -added csmp file info, new th reshold form, new documentation form
      -~·
      .'.:..~ ·            Revision#:
                           1.3
                           05/27/2008


                           Revision#:
                           l.4
                           06/16/2008
                           1nC1lrporated suggested verbiage changes as directed by outside counsel.


                           Revision#:
                           1.5
                           06/24/2008
                           Added !SMC Questionnaire


                           Revision #:
                           1.6
                           06/24/2008
                           Released to the Field


                           Revision#:
                           1.7
                           07/24/2008
                          added If an error occurs:


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1    Controlled Substance Monitoring Pr                                                 Page 16of16
               If the RX Pad system is not av      and/or the Director of Regulatory Affairs does     ve access, the approval process for DEA
               family uploading can be maintained via an email attachment whereby the Director gives approval.
1              to section l.2

lj             Revision#:
               1.8
]              07/25/2008
~l             added verbiage to level one review


 f             Revision#:
               1.9
i              08/18/2008
J              revision to level 1 / RNA process
f
i              Revision#:
i             1.10
j             08/18/2008
              approval to post received
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             Program overview
            McKesson is enhancing our policies and practices for distributing controlled substances to our pharmacy customers. We have
            designed our Controlled Substances Monitoring Program (CSMP) to improve our ability to monitor orders of controlled substances.

            With this program, we have put in place a sophisticated technology system that will allow for proactive, two-way communications
            between McKesson and your phannacy.



             Program details
            All U.S. drug wholesalers have always been required by the DEA to monitor the ordering of controlled substances. Those regulations
            have not changed, but the extent to which wholesalers are now required to monitor and enforce the legitimate use of controlled
            substances has. While we trust and respect our customers' integrity and professionalism, we must cooperate with these mandates
            from the DEA

             rherefore. beginning this month, McKesson will implement the CSMP. Here's how the program works:
                                                                                                                                                 t
            - McKesson vlill monitor purchases of all controlled substances by all customers.

            - A critical component of this program is the establishment of controlled substance thresholds.
                                                                                                                                                 I
            - Realizing that each customer's business is unique, McKesson has taken great care to set a threshold level specific to your
              business needs.
            - Thresholds are determined by an analysis of each customer's controlled substances purchase history.

            - Thresholds are monitored monthly and adjusted if necessary.
                                                                                                                                                 !
            - Customers wilf be alerted in advance of meeting or exceeding their thresholds.

            - Customers can apply for threshold adjustments if their business is changing or they anticipate needing to place a
              larger order.




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                               MCKMDL00409317
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     !' ·,·. Notification systern
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 J           P_Your McKesson ordering system conducts real-time monitoring of controlled substance purchases according to DEA base code.
     ~           McKesson's CSMP works with your regular ordering system processes to deliver communications in plenty of time for your
 J               oharmacy to take corrective action, helping head off any potential disruptions in supply.
 1
                 Advance warning alerts
 1
 t               lf your pharmacy reaches a threshold for a given product, you will receive an alert in Supply Management Online or EconoLink,

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                 and a message on your invoice or delivery document, alerting you that you are approaching your regulatory purchase limit,
                 so you can monitor your purchases for the rest of the month.

 l
 l               Threshold exceeded
                 If for some reason your pharmacy exceeds its threshold for a given product, you will see a "VH omit code in your ordering system,
Ii               as well as printed on your invoice. The omit code signals that the product will be omitted from your order because you exceeded
 I               your monthly threshold.

 l
 ~               Communicating anticipated order increases
 ~
                 We recogni2e your business is constantly changing, so your future controlled substance ordering needs may vary from your
                 order history. McKesson has developed a Threshold Change Request process, allowing you to communicate your needs in
                 advance so we can accommodate them in advance of any delays or disruptions in delivery.




                 Your McKesson representative will be contacting you shortly to walk you
                 through the new processes and answer any questions you might have.




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         CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
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       1. Why is McKesson implementing this program?
         McKesson and all wholesalers have always been required to monitor the distribution of controlled substances, and now the
         DEA is requiring all w holesalers to implement tighter controls. With our CSMP, we have developed a technology solution to
         automate the monitoring of controlled substances and proactivefy communicate w ith customers.

       2. Is McKesson t he only wholesaler·required to implement this type of program?
         No, all U.S. pharmaceutical wholesalers are being required to meet the DEA's requirements for tighter controls on controUed
         substances. The Controlled Substances Monitoring Program is McKesson's solution to the DEA's requirement, but the
         requirement is the same for all drug wholesalers.

       3. How will this affect my pharmacy business?
         There should be no significant impact to your business. The system monitors purchases of your controlled substances and
         compares them to your thresholds. We've taken care to set your threshold based on your controlled substance order history,
         and have put a program in place to give you plenty of notice if you are dose to exceeding your threshold for a given product.

       4. What changes will I see?
         A new alert message will appear in your ordering system and on your invoice if you approach your threshold for a product.
         If you exceed your monthly purchase threshold, you will see the Mv~ omit code in your ordering system and on your invoice
         or delivery document to indicate the product has been omitted from your order because you exceeded your order limit.

       5. McKesson states that you will be "monitoring" all of my cont rolled substances.
          How is this being done?
         After conducting extensive analysis on controlled substances purchases, we have created a technology solution that has
         visibility to your controlled substances purchases and compares your purchases to your designated thresholds.

       6. How are my thresholds determined?
         Thresholds are established for each individual pharmacy. Your thresholds have been determined based on your 12-month
         purchase history.

         McKesson states that I wilf receive an alert if I reach my threshold amount.
         How will I r eceive this notification?
         Threshold alerts will appear for each product ordered on your invoice or delivery document. They will also appear in your
         electronic ordering system.




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
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          8. What if I exceed my threshold?
    r        You will always receive a threshold alert on your invoice or delivery document well in advance of exceeding your threshold, so
             you can monitor purchases or apply for a threshold change. If you still exceed your threshold, you will see the new code ·v-
             with the message "Monthly Regulatory Maximum Purchases Exceeded" on your invoice, as well as in Order Acknowledgment
             or Invoice Acknowledgment (depending on your ordering system). That particular item will be omitted from your order and
             will not be shipped.

          9. You said that M cKesson is conducting real-ti me monitoring of controlled
             substance purchases according to DEA base code. How can I get more
             information on DEA base codes?
             Please check the DEA Web site for all base codes and associated product categories:
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             w ww.deadiversion usdoj.gov/arcos/ndc/ndc_ die.htm .


          10. What if I have a change in my business (for exam ple, I acquire a new pharmacy
              or pursue anot her line of business)? Am fin danger of not being able to o rder
              enough product because of my prev ious order history?
             We have created a Threshold Change Request process. If you do anticipate a change to your business, contact your
             McKesson sales representative as soon as possible so we can initiate the change request process.

          11. How do I request a chang e in my threshold amounts?


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    ...
             Contact your McKesson sales representative.

          12. Who do I contact if I have questions?
             Contact your McKesson sales representative.
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